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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR06-041-RSL
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   RICKY JENKS,                         )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

15          Racketeer Influence and Corrupt Organization (RICO); Conspiracy to Commit RICO;

16 Date of Detention Hearing:     April 13, 2006

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    Defendant has been charged by Indictment with four co-defendants on RICO

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 charges relating to activities of the Washington Nomads Chapter of the Hells Angels Motorcycle

02 Club, of which defendant is a member. The Indictment alleges that the Hells Angels was a highly

03 organized criminal enterprise that adhered to a hierarchical chain of command, engaging in acts

04 of violence, intimidation and assaults, including kidnaping, threats of violence, witness tampering,

05 extortion, and interstate trafficking in stolen motor vehicles. As a full patch member, defendant

06 is alleged to be responsible for carrying out the directives of the president and officers.

07          (2)     The Indictment charges that as part of the pattern of RICO activity, the defendant

08 and three co-defendants committed the crime of robbery by utilizing the use of immediate force,

09 violence, or fear of injury, during the commission of which one of the defendants (not this

10 defendant) was armed with a deadly weapon, and bodily injury was inflicted upon the victim

11 during the commission of the robbery. Defendant is also charged with committing extortion in the

12 first degree by obtaining property by threat of future bodily injury. Other defendants are charged

13 with murder and conspiracy to commit murder, trafficking in stolen motorcycles and parts,

14 extortion, mail fraud, interference with commerce by threats or violence, and witness tampering

15 as part of the pattern of RICO activity.

16          (3)     The defendant’s criminal history includes a conviction for manslaughter in the 2nd

17 degree for which he was on state supervision at the time of the instant alleged offense, and charges

18 for Violence in Aid of Racketeering, Use of a Firearm in Commission of a Felony and Aiding and

19 Abetting which are pending in the District of Nevada, for which the defendant is on pretrial

20 supervision.

21          (4)     The AUSA proffers that the nature of the instant charges are such that cooperating

22 witness testimony will prove critical, and that some witnesses in the case have reported fear of

     DETENTION ORDER                                                                            15.13
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01 reprisals. A co-defendant in this case has been charged with witness intimidation.

02          (5)    The defendant has strong ties to the Spokane community in which he resides and

03 the court does not find that he poses a risk of flight. However, the defendant does pose a risk of

04 danger due to the nature of the instant charges, his criminal history which suggests an increasing

05 propensity for violence, and association with the Hells Angels Motorcycle Club.

06          (6)    There does not appear to be any condition or combination of conditions that will

07 reasonably address the danger to other persons or the community.

08 It is therefore ORDERED:

09          (1)    Defendant shall be detained pending trial and committed to the custody of the

10                 Attorney General for confinement in a correction facility separate, to the extent

11                 practicable, from persons awaiting or serving sentences or being held in custody

12                 pending appeal;

13          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

14                 counsel;

15          (3)    On order of a court of the United States or on request of an attorney for the

16                 Government, the person in charge of the corrections facility in which defendant is

17                 confined shall deliver the defendant to a United States Marshal for the purpose of

18                 an appearance in connection with a court proceeding; and

19 / / /

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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

02               counsel for the defendant, to the United States Marshal, and to the United States

03               Pretrial Services Officer.

04         DATED this 13th day of April , 2006.



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06                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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